Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 1
                                                               1 of
                                                                 of 52
                                                                    52




                         FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


         YOLANY PADILLA; IBIS GUZMAN;          No. 19-35565
         BLANCA ORANTES; BALTAZAR
         VASQUEZ,                                 D.C. No.
                      Plaintiffs-Appellees,    2:18-cv-00928-
                                                    MJP
                         v.

         IMMIGRATION AND CUSTOMS                 OPINION
         ENFORCEMENT; U.S. DEPARTMENT
         OF HOMELAND SECURITY; U.S.
         CUSTOMS AND BORDER
         PROTECTION; UNITED STATES
         CITIZENSHIP AND IMMIGRATION
         SERVICES; MATTHEW ALBENCE,
         Acting Director of ICE; CHAD
         WOLF, Acting Secretary of DHS;
         MARK MORGAN, Acting
         Commissioner of CBP; KEN
         CUCCINELLI, Senior Official
         Performing the Duties of the
         Director of USCIS; MARC J. MOORE,
         Seattle Field Office Director, ICE;
         EXECUTIVE OFFICE FOR
         IMMIGRATION REVIEW; WILLIAM P.
         BARR, Attorney General, United
         States Attorney General; LOWELL
         CLARK, Warden of the Northwest
         Detention Center in Tacoma,
         Washington; CHARLES INGRAM,
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 2
                                                               2 of
                                                                 of 52
                                                                    52




         2                     PADILLA V. ICE

         Warden of the Federal Detention
         Center in SeaTac, Washington;
         DAVID SHINN, Warden; JAMES
         JANECKA, Warden of the Adelanto
         Detention Facility,
                      Defendants-Appellants,

                         and

         U.S. DEPARTMENT OF HEALTH &
         HUMAN SERVICES, FKA Department
         of Social Services; OFFICE OF
         REFUGEE RESETTLEMENT; ALEX M.
         AZAR II, Secretary of HHS; SCOTT
         LLOYD, Director of ORR; MATTHEW
         ALBENCE, Acting Deputy Director of
         ICE; JOHN P. SANDERS, Acting
         Commissioner of CBP; ELIZABETH
         GODFREY, Acting Director of Seattle
         Field Office, ICE,
                                  Defendants.


               Appeal from the United States District Court
                 for the Western District of Washington
               Marsha J. Pechman, District Judge, Presiding

                 Argued and Submitted October 22, 2019
                       San Francisco, California

                          Filed March 27, 2020
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 3
                                                               3 of
                                                                 of 52
                                                                    52




                                   PADILLA V. ICE                               3

         Before: Sidney R. Thomas, Chief Judge, and Michael Daly
               Hawkins and Bridget S. Bade, Circuit Judges.

                         Opinion by Chief Judge Thomas;
                             Dissent by Judge Bade


                                    SUMMARY*


                                    Immigration

             Affirming in part, and vacating and remanding in part, the
         district court’s preliminary injunction ordering the United
         States to provide bond hearings to a class of noncitizens who
         were detained and found to have a credible fear of
         persecution, the panel affirmed the injunction insofar as it
         concluded that plaintiffs have a due process right to bond
         hearings, but remanded for further findings and
         reconsideration with respect to the particular process due to
         plaintiffs.

             The district court certified a nationwide class of all
         detained asylum seekers who were subject to expedited
         removal proceedings, were found to have a credible fear of
         persecution, but were not provided a bond hearing with a
         record of hearing within seven days of requesting a hearing.
         Part A of the district court’s modified preliminary injunction
         provided: 1) bond hearings must take place within seven days
         of a class member’s request, or the member must be released;
         2) the burden of proof is on the government to show why the

             *
              This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 4
                                                               4 of
                                                                 of 52
                                                                    52




         4                      PADILLA V. ICE

         member should not be released; and 3) the government must
         produce recordings or verbatim transcripts of the hearings, as
         well as written decisions. Part B concluded that the class is
         constitutionally entitled to bond hearings. A motions panel
         of this court previously denied the government’s request to
         stay Part B, but granted the stay as to Part A.

             The panel concluded that the district court did not abuse
         its discretion in concluding that plaintiffs were likely to
         prevail on their due process claim, explaining that
         immigration detention violates the Due Process Clause unless
         a special justification outweighs the constitutionally protected
         interest in avoiding physical restraint. The panel also
         concluded that the district court did not abuse its discretion in
         finding that other processes—seeking parole from detention
         or filing habeas petitions—were insufficient to satisfy due
         process. The panel further rejected the government’s
         suggestion that noncitizens lack any rights under the Due
         Process Clause, observing the general rule that once a person
         is standing on U.S. soil—regardless of the legality of
         entry—he or she is entitled to due process.

             The panel next concluded that the district court did not
         abuse its discretion in its irreparable harm analysis, noting
         substandard physical conditions and medical care in
         detention, lack of access to attorneys and evidence, separation
         from family, and re-traumatization. The panel also concluded
         that the district court did not abuse its discretion in finding
         that the balance of the equities and public interest favors
         plaintiffs, explaining that the district court weighed:
         1) plaintiffs’ deprivation of a fundamental constitutional right
         and its attendant harms; 2) the fact that it is always in the
         public interest to prevent constitutional violations; and 3) the
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 5
                                                               5 of
                                                                 of 52
                                                                    52




                                PADILLA V. ICE                         5

         government’s interest in the efficient administration of
         immigration law.

             As to Part A of the injunction, the panel concluded that
         the record was insufficient to support the requirement of
         hearings within seven days, and that the district court made
         insufficient findings as to the burdens that Part A may impose
         on immigration courts. The panel also noted that the number
         of individuals in expedited removal proceedings may have
         dramatically increased since the entry of the injunction.
         Thus, the panel remanded to the district court for further
         factual development of the preliminary injunction factors as
         to Part A.

             The panel also rejected the government’s argument that
         the district court lacked authority to grant injunction relief
         under 8 U.S.C. § 1252(f)(1), which provides: “no court (other
         than the Supreme Court) shall have jurisdiction or authority
         to enjoin or restrain the operation of the provisions of
         [8 U.S.C. §§ 1221–1232], other than with respect to the
         application of such provisions to an individual alien against
         whom proceedings under such part have been initiated.”
         Examining the relevant precedent, statutory scheme, and
         legislative history, the panel concluded that here, where the
         class is composed of individual noncitizens, each of whom is
         in removal proceedings and facing an immediate violation of
         their rights, and where the district court has jurisdiction over
         each individual member of that class, classwide injunctive
         relief is consistent with congressional intent.

             Finally, the panel concluded that the district court did not
         abuse its discretion in granting the injunction as to the
         nationwide class. However, the panel directed that, on
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 6
                                                               6 of
                                                                 of 52
                                                                    52




         6                     PADILLA V. ICE

         remand, the district court must also revisit the nationwide
         scope.

             Dissenting, Judge Bade wrote that 8 U.S.C. § 1252(f)(1)
         barred injunctive relief in this case, concluding that the
         majority’s opinion does not square with the plain text of
         § 1252(f)(1), is inconsistent with multiple Supreme Court
         cases, and needlessly creates a circuit split with the Sixth
         Circuit. Judge Bade further wrote that, even if the district
         court had jurisdiction to issue injunctive relief, the
         preliminary injunction is overbroad and exceeds what the
         constitution demands. Judge Bade would vacate the
         preliminary injunction and remand for further proceedings
         with instructions to dismiss the claims for classwide
         injunctive relief.


                                 COUNSEL

         Lauren C. Bingham (argued), Senior Litigation Counsel;
         Archith Ramkumar, Trial Attorney; Sarah S. Wilson,
         Assistant United States Attorney; Erez Reuveni, Assistant
         Director; William C. Peachey, Director; Joseph H. Hunt,
         Assistant Attorney General; Office of Immigration Litigation,
         United States Department of Justice, Washington, D.C.; for
         Defendants-Appellants.

         Matt Adams (argued), Leila Kang, and Aaron Korthuis,
         Northwest Immigrant Rights Project, Seattle, Washington;
         Trina A. Realmuto and Kristin Macleod-Ball, American
         Immigration Council, Brookline, Massachusetts; Judy
         Rabinovitz, Michael Tan, and Anand Balakrishnan, ACLU
         Immigrants’ Rights Project New York, New York; for
         Plaintiffs-Appellees.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 7
                                                               7 of
                                                                 of 52
                                                                    52




                               PADILLA V. ICE                       7

         Alan Schoenfeld and Lori A. Martin, Wilmer Cutler
         Pickering Hale and Dorr LLP, New York, New York;
         Rebecca Arriaga Herche, Wilmer Cutler Pickering Hale and
         Dorr LLP, Washington, D.C.; Jamil Aslam, Wilmer Cutler
         Pickering Hale and Dorr LLP, Los Angeles, California; for
         Amici Curiae Retired Immigration Judges and Board of
         Immigration Appeals Members.

         Erin K. Earl, Julie Wilson-McNerney, and Anna Mouw
         Thompson, Perkins Coie LLP, Seattle, Washington, for
         Amici Curiae National Association of Criminal Defense
         Lawyers, Pretrial Justice Institute, and Center for Legal and
         Evidence-Based Practices.

         Robert W. Ferguson, Attorney General; Andrew R. W.
         Hughes, Kristin Beneski, and Brendan Selby, Assistant
         Attorneys General; Office of the Attorney General, Seattle,
         Washington; Xavier Becerra, Attorney General, Sacramento,
         California; Phil Weiser, Attorney General, Denver, Colorado;
         William Tong, Attorney General, Hartford, Connecticut;
         Kathleen Jennings, Attorney General, Wilmington, Delaware;
         Karl A. Racine, Attorney General, Washington, D.C.; Clare
         E. Connors, Attorney General, Honolulu, Hawaii; Kwame
         Raoul, Attorney General, Chicago, Illinois; Brian E. Frosh,
         Attorney General, Baltimore, Maryland; Maura Healey,
         Attorney General, Boston, Massachusetts; Dana Nessel,
         Attorney General, Lansing, Michigan; Keith Ellison,
         Attorney General, St. Paul, Minnesota; Aaron D. Ford,
         Attorney General, Carson City, Nevada; Gurbir S. Grewal,
         Attorney General; Glenn J. Moramarco, Assistant Attorney
         General; Marie Soueid, Deputy Attorney General; Office of
         the Attorney General, Trenton, New Jersey; Hector Balderas,
         Attorney General, Santa Fe, New Mexico; Peter F. Neronha,
         Attorney General, Providence, Rhode Island; Ellen F.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 8
                                                               8 of
                                                                 of 52
                                                                    52




         8                       PADILLA V. ICE

         Rosenblum, Attorney General, Salem, Oregon; Thomas J.
         Donovan Jr., Attorney General, Montpelier, Vermont; Mark
         R. Herring, Attorney General, Richmond, Virginia; for Amici
         Curiae Washington, California, Colorado, Connecticut,
         Delaware, District of Columbia, Hawaii, Illinois, Maryland,
         Massachusetts, Michigan, Minnesota, Nevada, New Jersey,
         New Mexico, Oregon, Rhode Island, Vermont, and Virginia.


                                   OPINION

         THOMAS, Chief Judge:

             In this interlocutory appeal, we consider whether the
         district court abused its discretion in granting a preliminary
         injunction ordering the United States to provide bond
         hearings to a class of noncitizens who were detained after
         entering the United States and were found by an asylum
         officer to have a credible fear of persecution. We conclude
         that it did not, and we affirm the order of the district court, in
         part, and direct the district court to reconsider some of the
         technical aspects of its order.

                                         I

             Plaintiffs are a class of noncitizens detained pursuant to
         8 U.S.C. § 1225(b). Section 1225(b) provides for “expedited
         removal” of “arriving” noncitizens at ports-of-entry and
         inadmissible noncitizens apprehended within the United
         States who cannot prove that they have been in the United
         States for more than two years. See Designating Aliens for
         Expedited Removal, 84 Fed. Reg. 35,409-01, 35,413–14
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 9
                                                               9 of
                                                                 of 52
                                                                    52




                                    PADILLA V. ICE                                9

         (July 23, 2019);1 see also 8 U.S.C. § 1225(b)(1)(A)(iii)(II).
         Plaintiffs are in this latter category.

             DHS removes noncitizens eligible for expedited removal
         “without further hearing or review,” subject to only one
         exception. 8 U.S.C. § 1225(b)(1)(A)(i). If the noncitizen
         indicates an intent to apply for asylum or a fear of
         persecution, DHS must refer the noncitizen for an interview
         with an asylum officer. Id. § 1225(b)(1)(A)(ii); 8 C.F.R.
         § 208.30. If the asylum officer determines that the
         noncitizen’s fear of persecution is credible, the noncitizen is
         referred to full removal proceedings, in which the noncitizen
         may apply for asylum or other forms of relief from removal.
         See 8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. §§ 208.30(f),
         1003.42(f). Subject to review, if the asylum officer finds no
         credible fear of persecution, the noncitizen will be removed.
         8 U.S.C. § 1225(b)(1)(B)(iii). A supervisor reviews the
         asylum officer’s credible fear determination, 8 C.F.R.
         §§ 208.30(e)(7), 235.3(b)(2), (b)(7), and a noncitizen may
         also request de novo review by an immigration judge,
         8 U.S.C. § 1225(b)(1)(B)(iii)(III); 8 C.F.R. § 1003.42.

             If the asylum officer determines at the time of the credible
         fear interview that the noncitizen has a credible fear of


             1
               At the time the district court certified the class and the injunction
         was issued below, the government applied expedited removal to
         inadmissable noncitizens arriving at a port-of-entry and any inadmissible
         noncitizen apprehended within 100 miles of the border and present in the
         country for fewer than 14 days. See Designating Aliens for Expedited
         Removal, 69 Fed. Reg. 48877-01, 48879–80 (Aug. 11, 2004). In July
         2019, however, the Department of Homeland Security (“DHS”)
         announced that it would expand expedited removal to the statutory limit.
         See Designating Aliens for Expedited Removal, 84 Fed. Reg. 35,409-01,
         35,413–14 (July 23, 2019); see also 8 U.S.C. § 1225(b)(1)(A)(iii)(II).
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 10
                                                               10 of
                                                                  of 52
                                                                     52




         10                    PADILLA V. ICE

         persecution, the noncitizen must “be detained for further
         consideration of the application for asylum.” 8 U.S.C.
         § 1225(b)(1)(B)(ii). If the asylum officer determines that the
         noncitizen does not have a credible fear of persecution, the
         statute requires that the noncitizen be detained during the
         review process “pending a final determination of credible fear
         of persecution and, if found not to have such a fear, until
         removed.” Id. § 1225(b)(1)(B)(iii)(IV).

             Until July 2019, noncitizens like plaintiffs, who were
         apprehended within the United States and initially subject to
         expedited removal, but who established credible fear and
         were transferred to full removal proceedings, were considered
         to be entitled to bond hearings before an immigration judge,
         as noncitizens in full removal proceedings usually are. See
         Matter of X-K-, 23 I. & N. Dec. 731, 731 (BIA 2005).

            In June 2018, Yolany Padilla, Ibis Guzman, and Blanca
         Orantes filed a class action complaint challenging the
         government’s alleged policy and practice of separating
         families seeking asylum and delaying credible fear interviews
         and bond hearings for detained asylum seekers. Plaintiffs
         moved for class certification and for a preliminary injunction
         requiring “timely bond hearings that comport with due
         process.”

            The district court first certified a nationwide Bond
         Hearing Class consisting of:

                All detained asylum seekers who entered the
                United States without inspection, were
                initially subject to expedited removal
                proceedings under 8 U.S.C. § 1225(b), were
                determined to have a credible fear of
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 11
                                                               11 of
                                                                  of 52
                                                                     52




                                   PADILLA V. ICE                             11

                  persecution, but are not provided a bond
                  hearing with a verbatim transcript or
                  recording of the hearing within seven days of
                  requesting a bond hearing.

         Padilla v. U.S. Immigr. & Customs Enf’t, No. C18-928 MJP,
         2019 WL 1056466, at *1 (W.D. Wash. Mar. 6, 2019).2

             The district court also granted the motion for a
         preliminary injunction, implementing certain procedural
         requirements for class members’ bond hearings. Specifically,
         the preliminary injunction required the Executive Office for
         Immigration Review (“EOIR”) to conduct bond hearings
         within seven days of a class member’s request and release
         any member whose detention without a hearing exceeds that
         limit. Padilla v. U.S. Immigr. & Customs Enf’t, 379 F. Supp.
         3d 1170, 1172 (W.D. Wash. 2019). The injunction also
         provided that in those hearings, the burden of proof must be
         placed on DHS to demonstrate why the class member should
         not be released on bond, parole, or other conditions. Id. It
         required the government to record the bond hearings and
         produce the recordings or verbatim transcripts upon appeal.
         Finally, the injunction required the government to produce a
         written decision with particularized findings at the conclusion
         of each bond hearing. Id.

            Shortly after this order, the Attorney General (“AG”)
         overruled Matter of X-K-, which established that noncitizens
         similarly situated to the members of the bond hearing class


             2
               The parties later stipulated that “the Bond Hearing Class includes
         individuals who otherwise satisfy the requirements for class membership
         but were determined to have a credible fear of torture, rather than only
         individuals determined to have a credible fear of persecution.”
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 12
                                                               12 of
                                                                  of 52
                                                                     52




         12                        PADILLA V. ICE

         are entitled to bond hearings, as “wrongly decided.” Matter
         of M-S-, 27 I. & N. Dec. 509, 510 (A.G. 2019). The AG
         interpreted 8 U.S.C. § 1225(b)(1)(B)(ii) to require mandatory
         detention without bond hearings for asylum seekers who were
         initially subject to expedited removal but later transferred to
         full removal proceedings after establishing a credible fear.
         See Matter of M-S-, 27 I. & N. Dec. at 515–17. Under Matter
         of M-S-, the only possibility for release available to
         noncitizens in this category is a discretionary grant of parole
         by DHS for “urgent humanitarian reasons or significant
         public benefit” pursuant to 8 U.S.C. § 1182(d)(5). Id.
         at 516–17. The AG delayed implementation of Matter of
         M-S- for 90 days in light of its “significant impact . . . on
         detention operations.” See id. at 519 n.8.

            Plaintiffs then filed a third amended complaint
         challenging Matter of M-S- on due process grounds and
         moved to modify the injunction.3 Defendants moved to
         vacate the injunction.

             The district court modified the previously issued
         preliminary injunction, dividing it into two parts “to facilitate
         appellate review.” Padilla v. U.S. Immigr. & Customs Enf’t,
         387 F. Supp. 3d 1219, 1222 (W.D. Wash. 2019). In Part A,
         the court reaffirmed its previously entered injunctive relief.
         Id. In Part B, the court essentially maintained the status quo
         before Matter of M-S-. Id. The court:

                  [m]odif[ied] the injunction to find that the
                  statutory prohibition at [§ 1225(b)(1)(B)(ii)]


              3
                Plaintiffs also challenged, inter alia, the AG’s interpretation of
         8 U.S.C. § 1225(b)(1)(B)(ii), but did not seek preliminary relief on that
         basis.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 13
                                                               13 of
                                                                  of 52
                                                                     52




                                   PADILLA V. ICE                             13

                   against releasing on bond persons found to
                   have a credible fear and awaiting a
                   determination of their asylum application
                   violates the U.S. Constitution; the Bond
                   Hearing Class is constitutionally entitled to a
                   bond hearing before a neutral decisionmaker
                   (under the conditions enumerated [in Part A])
                   pending resolution of their asylum
                   applications.

         Id.

             The government timely appealed both orders, moved for
         an administrative stay of the injunction, and a stay pending
         appeal.    A motions panel of this court denied the
         government’s request to stay Part B of the injunction, in
         which the district court held that class members are
         constitutionally entitled to bond hearings, but granted the
         request to stay Part A, which imposed procedural
         requirements on those bond hearings.4

                                           II

             We have jurisdiction of this interlocutory appeal under
         28 U.S.C. § 1292(a)(1). “We review the district court’s
         decision to grant or deny a preliminary injunction for abuse
         of discretion.” Sw. Voter Registration Educ. Project v.
         Shelley, 344 F.3d 914, 918 (9th Cir. 2003) (en banc) (per
         curiam) (citation omitted). “Our review is limited and


               4
              Plaintiffs have moved to stay further appellate proceedings pending
         the Supreme Court’s decision in Thuraissigiam v. DHS, 917 F.3d 1097,
         1100 (9th Cir. 2019), cert. granted sub nom. DHS v. Thuraissigiam, No.
         19-161, 2019 WL 5281289 (U.S. Oct. 18, 2019). The motion is DENIED.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 14
                                                               14 of
                                                                  of 52
                                                                     52




         14                      PADILLA V. ICE

         deferential.” Id. The district court abuses its discretion when
         it makes an error of law. Id. “We review the district court’s
         legal conclusions de novo, [and] the factual findings
         underlying its decision for clear error.” K.W. ex rel. D.W. v.
         Armstrong, 789 F.3d 962, 969 (9th Cir. 2015) (citation
         omitted). “We do not ‘determine the ultimate merits,’ but
         rather ‘determine only whether the district court correctly
         distilled the applicable rules of law and exercised permissible
         discretion in applying those rules to the facts at hand.’”
         Saravia v. Sessions, 905 F.3d 1137, 1141–42 (9th Cir. 2018)
         (quoting Fyock v. Sunnyvale, 779 F.3d 991, 995 (9th Cir.
         2015)).

            We also review the scope of the preliminary injunction,
         such as its nationwide effect, for abuse of discretion.
         California v. Azar, 911 F.3d 558, 568 (9th Cir. 2018), cert.
         denied sub nom. Little Sisters of the Poor Jeanne Jugan
         Residence v. California, 139 S. Ct. 2716 (2019). “We review
         de novo the existence of the district court’s jurisdiction.”
         Rodriguez v. Cty. of Los Angeles, 891 F.3d 776, 790 (9th Cir.
         2018).

                                         III

             “A plaintiff seeking a preliminary injunction must
         establish that he is likely to succeed on the merits, that he is
         likely to suffer irreparable harm in the absence of preliminary
         relief, that the balance of equities tips in his favor, and that an
         injunction is in the public interest.” Winter v. Natural Res.
         Def. Council, Inc., 555 U.S. 7, 20 (2008). Where the
         government is a party to a case in which a preliminary
         injunction is sought, the balance of the equities and public
         interest factors merge. Drakes Bay Oyster Co. v. Jewell,
         747 F.3d 1073, 1092 (9th Cir. 2014). After consideration of
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 15
                                                               15 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                         15

         the arguments presented by both parties and several amici
         curiae and thorough review of the record, we conclude that
         the district court did not abuse its discretion in issuing Part B
         of the preliminary injunction and ordering that plaintiffs
         receive bond hearings; however, because the record is
         insufficient to support Part A of the preliminary injunction,
         we remand for further findings and reconsideration with
         respect to the particular process due to plaintiffs. On remand,
         the district court must further develop the factual record and
         revisit the scope of injunctive relief.

                                        A

                                        1

             The Due Process Clause of the Fifth Amendment forbids
         the government from “depriv[ing]” any “person . . . of . . .
         liberty . . . without due process of law.” The Supreme Court
         has made clear that all persons in the United States—
         regardless of their citizenship status, means or legality of
         entry, or length of stay—are entitled to the protections of the
         Due Process Clause. See, e.g., Zadvydas v. Davis, 533 U.S.
         678, 693 (2001) (although “certain constitutional protections
         . . . are unavailable to aliens outside of our geographic
         borders . . . once an alien enters the country, the legal
         circumstance changes, for the Due Process Clause applies to
         all ‘persons’ within the United States, including aliens,
         whether their presence here is lawful, unlawful, temporary, or
         permanent”); see also United States v. Raya-Vaca, 771 F.3d
         1195, 1202–03 (9th Cir. 2014) (observing that the “Supreme
         Court has categorically declared that once an individual has
         entered the United States, he is entitled to the protection of
         the Due Process Clause” and that “[e]ven an alien who has
         run some fifty yards into the United States has entered the
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 16
                                                               16 of
                                                                  of 52
                                                                     52




         16                      PADILLA V. ICE

         country”); Kim Ho Ma v. Ashcroft, 257 F.3d 1095, 1108 (9th
         Cir. 2001) (“[O]nce an alien has ‘entered’ U.S. territory,
         legally or illegally, he or she has constitutional rights,
         including Fifth Amendment rights.”).

             “Procedural due process imposes constraints on
         governmental decisions which deprive individuals of ‘liberty’
         or ‘property’ interests within the meaning of the Due Process
         Clause of the Fifth or Fourteenth Amendment.” Mathews v.
         Eldridge, 424 U.S. 319, 332 (1976). “Freedom from
         imprisonment—from government custody, detention, or other
         forms of physical restraint—lies at the heart of the liberty that
         Clause protects.” Zadvydas, 533 U.S. at 690. Under the Due
         Process Clause, a person must be afforded adequate notice
         and hearing before being deprived of liberty. See Mathews,
         424 U.S. at 333. “In the context of immigration detention, it
         is well-settled that ‘due process requires adequate procedural
         protections to ensure that the government’s asserted
         justification for physical confinement outweighs the
         individual’s constitutionally protected interest in avoiding
         physical restraint.’” Hernandez v. Sessions, 872 F.3d 976,
         990 (9th Cir. 2017) (quoting Singh v. Holder, 638 F.3d 1196,
         1203 (9th Cir. 2011)).

             The Supreme Court has held repeatedly that non-punitive
         detention violates the Constitution unless it is strictly limited,
         which typically means that the detention must be
         accompanied by a prompt individualized hearing before a
         neutral decisionmaker to ensure that the imprisonment serves
         the government’s legitimate goals. See, e.g., United States v.
         Salerno, 481 U.S. 739, 750–51 (1987) (pretrial detention of
         arrestees constitutional where statute provides for “extensive
         safeguards,” including a “full-blown adversary hearing,” in
         which the government must “provide[] by clear and
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 17
                                                               17 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                        17

         convincing evidence that an arrestee presents an identified
         and articulable threat to an individual or the community”);
         Foucha v. Louisiana, 504 U.S. 71, 79 (1992) (individual
         entitled to “constitutionally adequate procedures to establish
         the grounds for his confinement”); Kansas v. Hendricks,
         521 U.S. 346, 360, 364 (1997) (civil commitment statute that
         provided for confinement of “only a narrow class of
         particularly dangerous individuals, and then only after
         meeting the strictest procedural standards,” did not violate
         due process). Indeed, the Supreme Court has required
         individualized hearings for far lesser interests. See Zadvydas,
         533 U.S. at 692 (criticizing administrative custody reviews
         and noting “[t]he Constitution demands greater procedural
         protection even for property”); Goldberg v. Kelly, 397 U.S.
         254, 268 (1970).

              Immigration detention, like all non-punitive detention,
         violates the Due Process Clause unless “a special justification
         . . . outweighs the ‘individual’s constitutionally protected
         interest in avoiding physical restraint.’” Zadvydas, 533 U.S.
         at 690 (quoting Kansas v. Hendricks, 521 U.S. at 356).
         Although “[t]he government has legitimate interests in
         protecting the public and in ensuring that non-citizens in
         removal proceedings appear for hearings, any detention
         incidental to removal must ‘bear[ ] [a] reasonable relation to
         [its] purpose.’” Hernandez, 872 F.3d at 990 (quoting
         Zadvydas, 533 U.S. at 690).

             “[G]iven the substantial liberty interests at stake,” Singh,
         638 F.3d at 1200, courts have repeatedly affirmed the
         importance of providing detained noncitizens individualized
         hearings before neutral decisionmakers. See Hernandez,
         872 F.3d at 990 (requiring “adequate procedural protections
         to ensure that the government’s asserted justification for
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 18
                                                               18 of
                                                                  of 52
                                                                     52




         18                     PADILLA V. ICE

         physical confinement outweighs the individual’s
         constitutionally protected interest in avoiding physical
         restraint” (quoting Singh, 638 F.3d at 1203)); Casas-
         Castrillon v. DHS, 535 F.3d 942, 950 (9th Cir. 2008)
         (individuals subjected to prolonged detention pending judicial
         review of their removal orders are entitled to a bond hearing
         and an “individualized determination as to the necessity of
         [their] detention”); see also Jennings v. Rodriguez, 138 S. Ct.
         830, 862, 869 (2018) (Breyer, J., dissenting) (reviewing
         Supreme Court caselaw, which “almost always has
         suggested” that bail proceedings for noncitizens are necessary
         and that “[t]he Due Process Clause foresees bail eligibility as
         part of ‘due process’”); Salerno, 481 U.S. at 746 (“When
         government action depriving a person of life, liberty, or
         property survives substantive due process scrutiny, it must
         still be implemented in a fair manner.”).

             Thus, we conclude that the district court did not abuse its
         discretion in applying Mathews and concluding that the
         plaintiffs were likely to succeed on their claim that they are
         constitutionally entitled to individualized bond hearings
         before a neutral decisionmaker.

                                       2

             The Supreme Court’s decisions in Zadvydas and Demore
         v. Kim, 538 U.S. 510 (2003), are not to the contrary. In
         Zadvydas, the two petitioners were in a unique situation: they
         had been adjudicated removable and were being detained
         ostensibly to enable their deportation; however, their
         detention lasted longer than the usual 90-day removal period
         because no country would accept them. Zadvydas, 533 U.S.
         at 683–87. The Court avoided the constitutional question
         presented by potentially indefinite detention by construing the
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 19
                                                               19 of
                                                                  of 52
                                                                     52




                                 PADILLA V. ICE                          19

         statute, under which detention was mandatory for the 90-day
         removal period and then discretionary, as limiting detention
         to a period “reasonably necessary” to effectuate removal. See
         id. at 689. In other words, the Court construed the statute in
         such a way as to ensure that detention pursuant to it was
         reasonably limited to its narrow purpose. See id.

             In Demore, the Supreme Court held constitutional the
         detention of a noncitizen, who had conceded that he was
         deportable, pursuant to a statute that imposed detention
         without bond on a subset of noncitizens deportable for having
         committed enumerated crimes. See 538 U.S. at 526–28, 531;
         see also 8 U.S.C. § 1226(c). The Court held that this
         “narrow” detention policy “during the limited period”
         necessary to arrange for removal was reasonably related to
         the government’s purpose of effectuating removal and
         protecting public safety for reasons that do not apply here.
         Demore, 538 U.S. at 526–28; see also Jennings, 138 S. Ct.
         at 869 (Breyer, J., dissenting) (describing Demore as “a
         deviation from the history and tradition of bail and alien
         detention”). In particular, the Court in Demore placed great
         weight on congressional findings that the particular
         individuals subject to this detention policy presented a
         heightened risk of flight and danger to the community.
         Demore, 538 U.S. at 518–20. The Court also emphasized that
         the periods of detention at issue were typically very short—an
         average of 47 days and a median of 30 days in approximately
         85 percent of cases, and an average of four months and a
         slightly shorter median time in the remaining 15 percent of
         cases. See id. at 529–30.5 Further, the Court observed, these



             5
              We acknowledge, however, that the government recently informed
         the Supreme Court that, with respect to duration of detention, “the
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 20
                                                               20 of
                                                                  of 52
                                                                     52




         20                      PADILLA V. ICE

         statistics did not include the “many” cases where a noncitizen
         was never subject to mandatory detention under the statute
         because his or her removal proceedings were completed while
         he or she served time for the underlying conviction. Id. at
         529.

             Here, in contrast, the government presented no evidence
         that Congress considered plaintiffs to present a particular risk
         of flight or danger—indeed, individuals in the same position
         as class members have been receiving bond hearings under
         Matter of X-K- for years as well as for many years before
         Matter of X-K- was decided. See 23 I. & N. Dec. at 731.
         Moreover, every plaintiff here will necessarily be subject to
         mandatory detention, and the duration of that detention is not
         similarly “limited.” See Demore, 538 U.S. at 531. Indeed,
         the record here suggests that, based on statistics from the
         years 2010 through early 2019, plaintiffs may expect to be
         detained for anywhere from six months to over-a-year while
         their applications for asylum or protection are fully
         adjudicated. This is far longer than the periods at issue in
         Demore or Zadvydas.

                                          3

             The government argues that such prolonged detention
         without a bond hearing is nonetheless constitutional because
         the government may release certain noncitizens on parole
         pursuant to 8 U.S.C. § 1182(d)(5)(A). See Matter of M-S-,
         27 I. & N. Dec. at 519. By statute, however, DHS may parole
         noncitizens “only on a case-by-case basis for urgent
         humanitarian reasons or significant public benefit.” 8 U.S.C.


         statistics it gave to the Court in Demore were wrong.” Jennings, 138
         S. Ct. at 869 (Breyer, J., dissenting).
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 21
                                                               21 of
                                                                  of 52
                                                                     52




                                   PADILLA V. ICE                            21

         § 1182(d)(5)(A); 8 C.F.R. § 212.5 (parole is “generally []
         justified only on a case-by-case basis for ‘urgent
         humanitarian reasons’ or ‘significant public benefit,’
         provided the aliens present neither a security risk nor a risk of
         absconding”). Moreover, parole decisions are solely in the
         discretion of the Secretary of DHS and are not judicially
         reviewable, 8 U.S.C. § 1252(a)(2)(B)(ii),6 although
         individuals may seek a reconsideration based on changed
         circumstances, 8 C.F.R. § 212.5. The “term of parole expires
         ‘when the purposes of such parole . . . have been served.’”
         Matter of M-S-, 27 I. & N. Dec. at 516 (noting limited
         circumstances under which parole may be granted by statute
         (quoting 8 U.S.C. § 1182(d)(5)(A))). By its terms, therefore,
         the parole process does not test the necessity of detention; it
         contains no mechanisms for ensuring that a noncitizen will be
         released from detention if his or her detention does not
         “bear[] [a] reasonable relation,” Zadvydas, 533 U.S. at 690,
         to the government’s “legitimate interests in protecting the
         public [or] in ensuring that non-citizens in removal
         proceedings appear for hearings,” Hernandez, 872 F.3d at
         990.

             The government urges us to consider, in the first instance,
         interim parole guidance issued in the wake of the preliminary
         injunction; however, this guidance is consistent with the
         statute and regulations and provides no additional procedural
         protections. To be considered for parole under the interim
         guidance, a noncitizen must first “satisfy” an officer that he
         or she is not a security or flight risk, at which point the officer
         may order release on parole for “urgent humanitarian


             6
                These sections refer to the AG, but those functions have been
         transferred to the Secretary of DHS. See 6 U.S.C. §§ 251, 552(d); Clark
         v. Suarez Martinez, 543 U.S. 371, 374 n.1 (2005).
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 22
                                                               22 of
                                                                  of 52
                                                                     52




         22                     PADILLA V. ICE

         reasons” or if detention is not in the public interest.
         Detention “may not be in the public interest . . . where, in
         light of available detention resources, detention of the subject
         alien would limit the ability of ICE to detain another alien
         whose release may pose a greater risk of flight or danger to
         the community.” Under this guidance, ICE officers make
         parole determinations by checking one of five boxes on a
         form that requires no factual findings, no specific
         explanation, and no evidence of deliberation. Indeed, one of
         the checkboxes corresponds to five possible reasons for
         denying parole, without space to indicate which applies in a
         particular case.

             In short, parole review is nothing like the “full-blown
         adversary hearing” that the Supreme Court has found
         adequate to justify civil confinement, see, e.g., Salerno,
         481 U.S. at 750–51, and it is “not sufficient to overcome the
         constitutional concerns raised by prolonged mandatory
         detention,” Rodriguez v. Robbins, 715 F.3d 1127, 1144 (9th
         Cir. 2013); see also Zadvydas, 533 U.S. at 692 (suggesting
         that “the Constitution may well preclude granting an
         administrative body the unreviewable authority to make
         determinations implicating fundamental rights” (citation and
         quotation marks omitted)); St. John v. McElroy, 917 F. Supp.
         243, 251 (S.D.N.Y. 1996) (due process not satisfied by parole
         review; instead, it requires an “impartial adjudicator” to
         review detention since, “[d]ue to political and community
         pressure, the INS . . . has every incentive to continue to
         detain”). The district court thus did not abuse its discretion
         in concluding that the parole process is inadequate to ensure
         that class members are only detained where a valid
         governmental purpose outweighs their fundamental liberty
         interest.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 23
                                                               23 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                         23

                                        4

              The government also insists that plaintiffs’ detention
         without bond does not present due process concerns because
         each individual alien can file a habeas petition to challenge
         the legality of his or her detention. In essence, the
         government argues for transferring the work of bond hearings
         in the first instance from the immigration courts to the district
         courts. Judicial economy would not be well-served by such
         a system.

             Moreover, the obligation to provide due process exists
         regardless of whether a detainee files a habeas petition. See
         Sopo v. U.S. Attorney Gen., 825 F.3d 1199, 1217 n.8 (11th
         Cir. 2016) (“The constitutional principles at play here, of
         course, apply to the government’s conduct—detaining
         criminal aliens—whether a § 2241 petition is filed or only
         potentially forthcoming.”), vacated as moot, 890 F.3d 952
         (11th Cir. 2018). Plaintiffs should not be required to endure
         further delays while they contest the constitutionality of their
         detention.

              The district court also properly reviewed the evidence
         before it and underscored the barriers that may prevent many
         detained noncitizens in the plaintiff class from successfully
         filing and litigating habeas petitions. The district court had
         before it declarations testifying to the fact that noncitizens
         such as plaintiffs are frequently pro se, have limited English
         skills, and lack familiarity with the legal system, and that
         immigration detention centers have inadequate law libraries.

            Thus, on this record, we cannot say that the district court
         abused its discretion by determining the theoretical
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 24
                                                               24 of
                                                                  of 52
                                                                     52




         24                     PADILLA V. ICE

         availability of the habeas process did not alone satisfy due
         process.

                                       5

             The government also suggests that non-citizens lack any
         rights under the Due Process Clause. As we have discussed,
         this position is precluded by Zadvydas and its progeny. The
         government relies on inapposite cases that address the
         peculiar constitutional status of noncitizens apprehended at a
         port-of-entry, but permitted to temporarily enter the United
         States under specific conditions. See, e.g., Shaughnessy v.
         United States ex rel. Mezei (“Mezei”), 345 U.S. 206, 208–09,
         213–15 (1953) (noncitizen excluded while still aboard his
         ship, but then detained at Ellis Island pending final exclusion
         proceedings gained no additional procedural rights with
         respect to removal by virtue of his “temporary transfer from
         ship to shore” pursuant to a statute that “meticulously
         specified that such shelter ashore ‘shall not be considered a
         landing’”); Leng May Ma v. Barber, 357 U.S. 185 (1958)
         (noncitizen paroled into the United States while waiting for
         a determination of her admissibility was not “within the
         United States” “by virtue of her physical presence as a
         parolee”); Kaplan v. Tod, 267 U.S. 228 (1925) (noncitizen
         excluded at Ellis Island but detained instead of being
         deported immediately due to suspension of deportations
         during World War I “was to be regarded as stopped at the
         boundary line”).

              Indeed, these cases, by carving out exceptions not
         applicable here, confirm the general rule that once a person
         is standing on U.S. soil—regardless of the legality of his or
         her entry—he or she is entitled to due process. See, e.g.,
         Mezei, 345 U.S. at 212 (“[A]liens who have once passed
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 25
                                                               25 of
                                                                  of 52
                                                                     52




                                 PADILLA V. ICE                         25

         through our gates, even illegally, may be expelled only after
         proceedings conforming to traditional standards of fairness
         encompassed in due process of law.”); Leng May Ma,
         357 U.S. at 187 (explaining that “immigration laws have long
         made a distinction between those aliens who have come to
         our shores seeking admission . . . and those who are within
         the United States after an entry, irrespective of its legality,”
         and recognizing, “[i]n the latter instance . . . additional rights
         and privileges not extended to those in the former category
         who are merely ‘on the threshold of initial entry’” (quoting
         Mezei, 345 U.S. at 212)); Kwai Fun Wong v. United States,
         373 F.3d 952, 973 (9th Cir. 2004) (explaining that “the entry
         fiction is best seen . . .as a fairly narrow doctrine that
         primarily determines the procedures that the executive branch
         must follow before turning an immigrant away” because
         “[o]therwise, the doctrine would allow any number of abuses
         to be deemed constitutionally permissible merely by labelling
         certain ‘persons’ as non-persons”). We thus conclude that the
         district court did not err in holding that plaintiffs are
         “persons” protected by the Due Process Clause.

                                         6

             For all these reasons, we conclude that the district court
         did not abuse its discretion in concluding that the plaintiffs
         were likely to prevail on the merits of their due process claim
         regarding the availability of bond hearings.

                                         B

            Nor did the district court abuse its discretion in
         concluding that the plaintiffs would suffer irreparable harm
         absent the grant of a preliminary injunction. The district
         court found that, in the absence of preliminary relief,
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 26
                                                               26 of
                                                                  of 52
                                                                     52




         26                     PADILLA V. ICE

         plaintiffs would suffer irreparable harm in the form of
         “substandard physical conditions, low standards of medical
         care, lack of access to attorneys and evidence as Plaintiffs
         prepare their cases, separation from their families, and re-
         traumatization of a population already found to have
         legitimate circumstances of victimization.” Padilla, 387 F.
         Supp. 3d at 1231.          Contrary to the government’s
         unsubstantiated arguments, the record supports the district
         court’s conclusion, and we see no abuse of discretion.

                                        C

             The district court also did not abuse its discretion in
         determining that the balance of the equities and public
         interest favors plaintiffs with respect to Part B of the
         preliminary injunction.

             The district court found that the equities on Plaintiffs’
         side consist of the deprivation of a fundamental constitutional
         right and its attendant harms, which range from physical,
         emotional, and psychological damages to unnecessarily
         prolonged family separation. Padilla, 387 F. Supp. 3d at
         1231; see also Padilla, 379 F. Supp. 3d at 1181. The court
         also observed that “it is always in the public interest to
         prevent the violation of a party’s constitutional rights.”
         Padilla, 387 F. Supp. 3d at 1232 (quoting Melendres v.
         Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)). On the other
         side, the district court weighed defendants’ expressed
         interests in the administration of immigration law, in
         controlling their dockets, and in allocating their limited
         resources as they see fit—i.e., “the efficient administration of
         the immigration laws.” Padilla, 387 F. Supp. 3d at 1231; see
         also Padilla, 379 F. Supp. 3d at 1181. The court concluded
         that the balance of hardships “tips decidedly in plaintiffs’
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 27
                                                               27 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                       27

         favor.” Padilla, 387 F. Supp. 3d at 1232 (quoting Hernandez,
         872 F.3d at 996).

             Defendants argue that the district court erred in balancing
         the equities because the government suffers irreparable injury
         anytime a statute is enjoined. This court has recognized that
         there is “some authority” for the idea that “a state may suffer
         an abstract form of harm whenever one of its acts is
         enjoined,” but, “to the extent that is true . . . it is not
         dispositive of the balance of harms analysis.” Latta v. Otter,
         771 F.3d 496, 500 (9th Cir. 2014) (quoting Indep. Living Ctr.
         of So. Cal., Inc. v. Maxwell-Jolly, 572 F.3d 644, 658 (9th Cir.
         2009) (alterations omitted), vacated and remanded on other
         grounds, 132 S. Ct. 1204 (2012)); see also id. at 500 n.1
         (noting that “[i]ndividual justices, in orders issued from
         chambers, have expressed the view that a state suffers
         irreparable injury when one of its laws is enjoined, [but] [n]o
         opinion for the Court adopts this view” (citations omitted)).
         The district court thus did not commit legal error in this
         respect. See also Robbins, 715 F.3d at 1145 (finding that
         balance of equities favored detained noncitizens and noting
         that the government “cannot suffer harm from an injunction
         that merely ends an unlawful practice”).

              In sum, we conclude that the district court did not abuse
         its discretion in determining that the balance of the equities
         and public interest favors plaintiffs.

                                       D

            Because the district court did not abuse its discretion in
         applying the Winter factors to determine whether plaintiffs
         were entitled to a preliminary injunction requiring that they
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 28
                                                               28 of
                                                                  of 52
                                                                     52




         28                    PADILLA V. ICE

         receive bond hearings, we affirm Part B of the preliminary
         injunction.

                                      IV

             We now consider the specific procedural requirements the
         district court imposed in its preliminary injunction order for
         the required bond hearings.

             As we have noted, “[t]he fundamental requirement of due
         process is the opportunity to be heard at a meaningful time
         and in a meaningful manner.” Mathews, 424 U.S. at 333
         (citation and quotation marks omitted). Accordingly, bond
         hearings must be held promptly and must involve adequate
         procedural protections to ensure that detention is reasonably
         related to preventing flight or danger to the community. See
         Hernandez, 872 F.3d at 990. The current record is, however,
         insufficient to support the district court’s findings with
         respect to likelihood of success, the harms facing plaintiffs,
         and the balance of the equities implicated by Part A of the
         preliminary injunction—and particularly with respect to the
         requirement that the class members receive a bond hearing
         within seven days of making such a request or be released.

             The record contains evidence describing wait times faced
         by detained noncitizens generally and class members prior to
         Matter of M-S-, but does not contain sufficient specific
         evidence justifying a seven-day timeline, as opposed to a 14-
         day, 21-day, or some other timeline. The district court also
         made insufficient findings regarding the extent to which the
         procedural requirements in Part A—and their nationwide
         scope—may burden the immigration courts. Critically, since
         the entry of the preliminary injunction, the number of
         individuals currently in expedited removal proceedings—and
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 29
                                                               29 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                         29

         thus the number of class members—may have increased
         dramatically.     See Designating Aliens for Expedited
         Removal, 84 Fed. Reg. at 35,413–14 (expanding expedited
         removal to the statutory limit). The government submitted on
         appeal declarations explaining the operational difficulties that
         the procedural requirements in Part A will cause. Such
         evidence is properly considered in the first instance by the
         district court.

             The threat of irreparable harm to plaintiffs, the balancing
         of the equities, and the public interest implicated by Part A of
         the preliminary injunction present intensely factual questions.
         The factual landscape has shifted as this case has developed,
         including the time between the district court’s first
         preliminary injunction order and modified preliminary
         injunction order, and the district court did not consider these
         developments when entering the modified preliminary
         injunction order. Accordingly, although we affirm Part B of
         the preliminary injunction, we remand this case to the district
         court for further factual development on the Winter factors
         with respect to Part A of the preliminary injunction. As set
         forth below, we also direct the district court on remand to
         revisit the injunction’s scope.

                                        V

             The defendants argue that, under 8 U.S.C. § 1252(f)(1),
         the district court lacked authority to grant injunctive relief in
         this case. We disagree.

             Section 1252(f)(1) provides that “no court (other than the
         Supreme Court) shall have jurisdiction or authority to enjoin
         or restrain the operation of the provisions of [8 U.S.C.
         §§ 1221–1232], other than with respect to the application of
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 30
                                                               30 of
                                                                  of 52
                                                                     52




         30                     PADILLA V. ICE

         such provisions to an individual alien against whom
         proceedings under such part have been initiated.” All of the
         individuals in the plaintiff class here are “individual[s]
         against whom proceedings under such part have been
         initiated.” See id.

             Although the Supreme Court has analyzed the impact of
         § 1252(f)(1) on classwide relief in suits filed by
         organizations, it has never had an opportunity to consider the
         meaning of the statute’s exception clause and its effect on the
         availability of classwide relief where every member of a class
         is “an individual alien against whom proceedings under such
         part have been initiated.” See id. The Supreme Court
         observed in Reno v. American-Arab Anti-Discrimination
         Committee (“AADC”) that § 1252(f)(1) is “nothing more or
         less than a limit on injunctive relief. It prohibits federal
         courts from granting classwide injunctive relief against the
         operation of §§ 1221–1231, but specifies that this ban does
         not extend to individual cases.” 525 U.S. 471, 481–82
         (1999). The Court made this observation in the course of
         rejecting an argument that the subsection provided an
         affirmative grant of jurisdiction. See id.

             Because AADC was not a class action, “[t]he Court in
         AADC did not consider, and had no reason to consider, the
         application of § 1252(f)(1) to [] a class” in which “[e]very
         member . . . falls within the provision’s exception.”
         Jennings, 138 S. Ct. at 875 (2018) (Breyer, J., dissenting). In
         Jennings, the Supreme Court made clear that the question is
         unresolved, quoting AADC, but remanding to this court to
         consider in the first instance whether classwide injunctive
         relief is available under § 1252(f)(1)). See id. at 851.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 31
                                                               31 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                        31

             As we noted in Rodriguez v. Marin, § 1252(f)(1) does not
         on its face bar class actions or classwide relief. 909 F.3d 252,
         256 (9th Cir. 2018) (remanding in turn to the district court to
         consider in the first instance whether § 1252(f)(1) precluded
         the injunctive relief sought there). We decline the
         government’s invitation to read into the text, or in AADC, a
         broad but silent limitation on the district court’s powers under
         Federal Rule of Civil Procedure 23. “In the absence of a
         direct expression by Congress of its intent to depart from the
         usual course of trying ‘all suits of a civil nature’ under the
         Rules established for that purpose, class relief is appropriate
         in civil actions brought in federal court.” Califano v.
         Yamasaki, 442 U.S. 682, 700 (1979).

             Section 1252(f)(1)’s silence as to class actions is
         especially significant because its neighboring subsection,
         § 1252(e)(1)(B), adopted at the same time by the same
         Congress, expressly prohibits class actions. See 8 U.S.C.
         § 1252(e)(1)(B) (barring courts from “certify[ing] a class
         under Rule 23 . . . in any action for which judicial review is
         authorized under a subsequent paragraph of this subsection”);
         see also Trump v. Hawaii, 138 S. Ct. 2392, 2408 (2018).
         Congress knows how to speak unequivocally when it wants
         to alter the availability of class actions in immigration cases.
         It did not do so here. See Hayes, 591 F.3d at 1119
         (construing § 1252(f)(1) narrowly as not banning classwide
         declaratory relief in light of § 1252(e)’s breadth); Am.
         Immigration Lawyers Ass’n v. Reno (“AILA”), 199 F.3d 1352,
         1359 (D.C. Cir. 2000) (noting that § 1252(e) contains a “ban
         on class actions” while § 1252(f)(1) contains a different
         limitation); see also Barnhart v. Sigmon Coal Co., 534 U.S.
         438, 452 (2002) (“[W]hen Congress includes particular
         language in one section of a statute but omits it in another
         section of the same Act, it is generally presumed that
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 32
                                                               32 of
                                                                  of 52
                                                                     52




         32                     PADILLA V. ICE

         Congress acts intentionally and purposely in the disparate
         inclusion or exclusion.” (quotation marks and citation
         omitted)).

              The government contends that our interpretation of
         § 1252(f)(1) as applied to this case renders superfluous the
         word “individual” in the phrase “individual alien.” However,
         the word “individual” is not superfluous if Congress intended
         it to prohibit injunctive relief with respect to organizational
         plaintiffs. Cf. Califano, 442 U.S. at 701 (explaining that a
         statute authorizing a suit by “any individual” and
         “contemplat[ing] case-by-case adjudication” does not
         foreclose classwide relief because “[w]here the district court
         has jurisdiction over the claim of each individual member of
         the class, [FRCP] 23 provides a procedure by which the court
         may exercise that jurisdiction over the various individual
         claims in a single proceeding”); Brown v. Plata, 563 U.S.
         493, 531 (2011) (provision stating that a remedy shall extend
         no further than necessary to remedy the violation of the rights
         of a “particular plaintiff or plaintiffs” was not a limitation on
         classwide injunctive relief, but instead meant that the “scope
         of the order must be determined with reference to the
         constitutional violations established by the specific plaintiffs
         before the court”).

            The statute’s legislative history supports our reading. See
         Pac. Coast Fed’n of Fishermen’s Ass’ns v. Glaser, 937 F.3d
         1191, 1196 (9th Cir. 2019) (explaining that courts “may use
         canons of construction, legislative history, and the statute’s
         overall purpose to illuminate Congress’s intent”). Congress
         adopted § 1252(f)(1) after a period in which organizations
         and classes of persons, many of whom were not themselves
         in proceedings, brought preemptive challenges to the
         enforcement of certain immigration statutes. See, e.g., Reno
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 33
                                                               33 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                        33

         v. Catholic Soc. Servs., Inc., 509 U.S. 43, 47–51 (1993)
         (appeal from orders invalidating INS regulations in class
         actions brought by immigration rights groups); McNary v.
         Haitian Refugee Ctr., Inc., 498 U.S. 479, 487–88 (1991)
         (appeal from order holding certain INS practices
         unconstitutional and requiring INS to modify its practices in
         action brought by immigrant rights group on behalf of a class
         of farmworkers); Haitian Refugee Ctr. v. Smith, 676 F.2d
         1023, 1026 (5th Cir. Unit B 1982) (affirming finding that new
         asylum procedures violated due process in case brought by an
         organization on behalf of a class of Haitians who had
         petitioned for political asylum); see also AILA, 199 F.3d at
         1359–60 (“Congress meant to allow litigation challenging the
         new system by, and only by, aliens against whom the new
         procedures had been applied”).

             The statute’s legislative history also reveals that Congress
         was concerned that § 1252(f)(1) not hamper a district court’s
         ability to address imminent rights violations. See H.R. Rep.
         No. 104-469(I), at 161 (1996) (explaining that § 1252(f)(1)
         limited courts’ “authority to enjoin procedures established by
         Congress to reform the process of removing illegal aliens
         from the U.S.,” but preserved their ability to “issue injunctive
         relief pertaining to the case of an individual alien, and thus
         protect against any immediate violation of rights”). This
         history supports the view that Congress intended § 1252(f)(1)
         to restrict courts’ power to impede the new congressional
         removal scheme on the basis of suits brought by
         organizational plaintiffs and noncitizens not yet facing
         proceedings under 8 U.S.C. §§ 1221–1232. Here, where the
         class is composed of individual noncitizens, each of whom is
         in removal proceedings and facing an immediate violation of
         their rights, and where the district court has jurisdiction over
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 34
                                                               34 of
                                                                  of 52
                                                                     52




         34                     PADILLA V. ICE

         each individual member of that class, classwide injunctive
         relief is consistent with that congressional intent.

             Thus, upon interlocutory review, we conclude that
         § 1252(f)(1) did not bar the district court from granting
         preliminary injunctive relief for this class of noncitizens, each
         of whom is an individual noncitizen against whom removal
         proceedings have been initiated.

                                        VI

              Although defendants dispute the district court’s authority
         to issue classwide injunctive relief under § 1252(f)(1),
         defendants do not challenge the scope of the preliminary
         injunction. We conclude that the district court did not abuse
         its discretion in granting a preliminary injunction with respect
         to the nationwide class.

             Where, as here, a district court has already certified a
         nationwide class, the concerns associated with broad
         injunctions are minimized. “If a class action is otherwise
         proper, and if jurisdiction lies over the claims of the members
         of the class, the fact that the class is nationwide in scope does
         not necessarily mean that the relief afforded the plaintiffs will
         be more burdensome than necessary to redress the
         complaining parties.” Califano, 442 U.S. at 702. Cf.
         Easyriders Freedom F.I.G.H.T. v. Hannigan, 92 F.3d 1486,
         1501 (9th Cir. 1996) (“[I]njunctive relief generally should be
         limited to apply only to named plaintiffs where there is no
         class certification.”). “[T]he scope of [a] remedy is
         determined by the nature and extent of the . . . violation,”
         Milliken v. Bradley, 433 U.S. 267, 270 (1977), and “not by
         the geographical extent of the plaintiff,” Califano, 442 U.S.
         at 702.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 35
                                                               35 of
                                                                  of 52
                                                                     52




                                    PADILLA V. ICE                               35

             The nationwide class in this case is defined by a shared
         alleged constitutional violation. See Padilla, No. C18-928
         MJP, 2019 WL 1056466, at *6 (W.D. Wash. Mar. 6, 2019).
         The injunction seeks to remedy that constitutional violation.
         In certifying the class, the court observed that, in addition to
         establishing numerosity, commonality, typicality and
         adequacy, plaintiffs had demonstrated “that the challenged
         conduct is ‘such that it can be enjoined or declared unlawful
         only as to all of the class members or as to none of them.’”
         Id. (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,
         360 (2011)). The court further concluded that certification of
         a nationwide class was “manifestly” appropriate, and it
         rejected defendants’ request to limit the scope of class
         certification. See id.7 Defendants did not seek to appeal class
         certification on any grounds, nor have they suggested at any
         point during this appeal that the nationwide scope of the
         certified class is improper. We have already concluded that
         the district court did not abuse its discretion in holding that
         members of the certified class are constitutionally entitled to
         bond hearings. Therefore, we cannot conclude that the


             7
               The district court rejected defendants’ request to limit the class to
         individuals located in the Western District of Washington. Id. The court
         noted that class representatives were transferred all over the country
         before landing in Washington and that detained immigrants are routinely
         transferred throughout the country prior to adjudicating their cases. Id.
         The court also found that defendants apply a uniform “indefinite
         detention” policy across the country and that class members face the same
         allegedly improper circumstances of detention regardless of their location.
         Id. The court could not identify—and defendants did not cite—any
         ongoing litigation of the same issue in other districts. Id. Finally, noting
         that the overwhelming majority of class members are not sufficiently
         resourced to pursue individual litigation, the court rejected defendants’
         argument that class members should be afforded the opportunity to seek
         “speedier individual recovery.” Id. Defendants have not raised any
         similar arguments on appeal.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 36
                                                               36 of
                                                                  of 52
                                                                     52




         36                      PADILLA V. ICE

         district court abused its discretion in issuing classwide
         preliminary injunctive relief. Nonetheless, on remand, in
         considering the appropriate procedures that must be followed
         with respect to the required bond hearings, the district court
         must revisit the nationwide scope of the injunction to ensure
         that it is not “more burdensome than necessary to redress the
         complaining parties.” See Califano, 442 U.S. at 702.

                                        VII

             In sum, the district court did not abuse its discretion in
         concluding that plaintiffs are likely to succeed on their
         challenge under the Due Process Clause to the detention of
         class members without any opportunity for a bond hearing.
         The district court likewise did not abuse its discretion in
         finding plaintiffs would suffer irreparable harm absent
         preliminary relief and that the balance of the equities and
         public interest favored plaintiffs. Part B of the district court’s
         preliminary injunction is thus AFFIRMED, except to the
         extent that it requires that bond hearings be administered
         under the conditions enumerated in Part A.

             We VACATE and REMAND Part A of the preliminary
         injunction to the district court for further factual development
         and consideration of the procedures that must be followed
         with respect to the required bond hearings. The district court
         must further develop the relevant factual record and revisit
         the scope of the injunction.

           AFFIRMED IN PART;                       VACATED          AND
         REMANDED IN PART.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 37
                                                               37 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                        37

         BADE, Circuit Judge, dissenting:

             In keeping with the current trend in constitutional
         challenges to the enforcement of immigration statutes, the
         district court issued a classwide, nationwide preliminary
         injunction against the operation of 8 U.S.C.
         § 1225(b)(1)(B)(ii). But Congress plainly barred lower courts
         from issuing such injunctions except as to “an individual
         alien,” 8 U.S.C. § 1252(f)(1), and the Supreme Court has
         construed § 1252(f)(1) as a jurisdictional bar on a lower
         court’s ability to issue classwide injunctive relief. Despite
         this authority (and the plain language of the statute, general
         statutory construction principles, and the holdings of two of
         our sister circuits), the majority opinion finds jurisdiction in
         this case.

             I respectfully dissent.

                                        I.

             Section 1252(f)(1) is straightforward. It provides that:

                 Regardless of the nature of the action or claim
                 or of the identity of the party or parties
                 bringing the action, no court (other than the
                 Supreme Court) shall have jurisdiction or
                 authority to enjoin or restrain the operation of
                 the provisions of part IV of this subchapter
                 . . . other than with respect to the application
                 of such provisions to an individual alien
                 against whom proceedings under such part
                 have been initiated.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 38
                                                               38 of
                                                                  of 52
                                                                     52




         38                     PADILLA V. ICE

         8 U.S.C. § 1252(f)(1). Recognizing the simplicity of this
         language, the Supreme Court has repeatedly interpreted this
         statute as a bar on classwide injunctive relief against the
         operation of 8 U.S.C. §§ 1221–1232. See Jennings v.
         Rodriguez, 138 S. Ct. 830, 851 (2018) (confirming that
         § 1252(f)(1) bars federal courts from issuing classwide
         injunctive relief against the operation of §§ 1221–1232);
         Nken v. Holder, 556 U.S. 418, 431 (2009) (describing
         § 1252(f)(1) as “a provision prohibiting class wide
         injunctions against the operation of removal provisions”);
         Reno v. Am.-Arab Anti-Discrimination Comm. (“AADC”),
         525 U.S. 471, 481–82 (1999) (“By its plain terms, and even
         by its title, that provision is nothing more or less than a limit
         on injunctive relief. It prohibits federal courts from granting
         classwide injunctive relief against the operation of
         §§ 1221–123[2], but specifies that this ban does not extend to
         individual cases.”).

             The majority opinion brushes these cases aside because
         the Supreme Court has yet to construe § 1252(f)(1) in a case
         brought by a class of aliens all of whom were in removal
         proceedings. Maj. Op. 30–31. Although the majority opinion
         is correct that AADC and Nken were not class actions brought
         by aliens in removal proceedings, Jennings was such a class
         proceeding. And in that case, the Court was dubious that a
         lower court would have jurisdiction to issue a classwide
         injunction in the context of a constitutional challenge to
         §§ 1221–1232. See Jennings, 138 S. Ct. at 851 (explaining
         that the Ninth Circuit’s reasoning for exercising jurisdiction
         over a class action statutory claim seeking injunctive relief
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 39
                                                               39 of
                                                                  of 52
                                                                     52




                                     PADILLA V. ICE                               39

         against the operation of §§ 1225–1226 “does not seem to
         apply to an order granting relief on constitutional grounds”).1

             Nothing in the Supreme Court’s precedent suggests that
         the Court has changed its mind since deciding Jennings.
         And, even if we characterize the Court’s repeated statements
         about § 1252(f)(1) as dicta, we are “advised to follow” them.
         Lemoge v. United States, 587 F.3d 1188, 1193 (9th Cir. 2009)
         (quoting Fernandez-Ruiz v. Gonzales, 466 F.3d 1121, 1129
         (9th Cir. 2006) (en banc)); see, e.g., United States v. Montero-
         Camargo, 208 F.3d 1122, 1132 n.17 (9th Cir. 2000) (en banc)
         (noting that “Supreme Court dicta have a weight that is
         greater than ordinary judicial dicta as prophecy of what that
         Court might hold” (internal quotation marks and citation
         omitted)). The majority opinion does not follow the Court’s
         interpretation of § 1252(f)(1), but then fails to persuasively
         explain why the Court would—despite its skepticism in
         Jennings—rule differently in the circumstances of this case.

            Even if we could (or should) sidestep Jennings, Nken, and
         AADC, a proper statutory analysis leads to the same result.
         The majority opinion’s conclusion that jurisdiction exists is
         based on a faulty reading of § 1252(f)(1)’s plain language and
         misapplication of statutory construction principles.




             1
                In Jennings, the Ninth Circuit exercised jurisdiction over a statutory
         challenge brought by a class of aliens in removal proceedings because the
         claim was premised on conduct allegedly “not authorized by the statutes”
         and therefore the claim did not go to the “operation of” the removal
         provisions. 138 S. Ct. at 851. Here, in contrast, Plaintiffs do not argue
         that their constitutional challenge seeks to prevent conduct not authorized
         by § 1225(b)(1)(B)(ii); they directly challenge the “operation of” that
         statute.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 40
                                                               40 of
                                                                  of 52
                                                                     52




         40                         PADILLA V. ICE

                                             II.

             When construing a statute, “no clause, sentence, or word
         shall be superfluous, void, or insignificant.” TRW Inc. v.
         Andrews, 534 U.S. 19, 31 (2001) (citation omitted). The
         majority opinion’s reading of § 1252(f)(1)—specifically its
         interpretation of “an individual alien”—departs from this
         long-established rule. As the majority opinion construes the
         statute, the word “individual” stands as a mere superfluity.
         See Hamama v. Adducci (“Hamama I”), 912 F.3d 869, 877
         (6th Cir. 2018) (“There is no way to square the concept of a
         class action lawsuit with the wording ‘individual’ in
         [§ 1252(f)(1)].”).

             The majority opinion defines “individual” as the opposite
         of “organization,” apparently concluding that Congress added
         “individual” to § 1252(f)(1) to ensure that “alien” refers to a
         person, not an artificial entity. Maj. Op. 32. But this
         definition renders “individual” superfluous because an
         organizational or artificial entity “alien” does not exist for
         purposes of the immigration statutes. See 8 U.S.C.
         § 1101(a)(3) (defining “alien” as “any person not a citizen or
         national of the United States”). To be given effect,
         “individual” can only be read as an adjective providing a
         separate, numerical limitation on the clause’s noun, “alien.”
         See Individual, Black’s Law Dictionary (11th ed. 2019)
         (defining “individual” when used as an adjective as
         “[e]xisting as an indivisible entity” or “[o]f, relating to, or
         involving a single person or thing, as opposed to a group”
         (emphasis added)).2


              2
               The Dictionary Act instructs that when a statute includes a word
         “importing the singular,” that word applies to “several persons, parties, or
         things” “unless the context indicates otherwise.” 1 U.S.C. § 1. Here,
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 41
                                                               41 of
                                                                  of 52
                                                                     52




                                    PADILLA V. ICE                             41

             The majority opinion’s construction would be palatable
         only if Congress had replaced the phrase “an individual
         alien” with “any alien” or “an alien”—as it did in over a
         dozen other subsections of the statute. See, e.g., 8 U.S.C.
         §§ 1252(a)(2)(C), 1252(b)(3)(B), 1252(b)(4)(C), 1252(b)(9),
         1252(e)(1)(A), 1252(e)(4)(B), 1252(f)(2), 1252(g).3 Had
         Congress used either of these alternatives, there would be no
         separate numerical limitation on “alien,” there would be no
         reason for us to define “individual,” and the majority
         opinion’s perceived legislative goal of preventing
         organization-led preemptive challenges to immigration
         statutes would be achieved. But we cannot rewrite the
         statute, see Dodd v. United States, 545 U.S. 353, 359 (2005)
         (“[W]e are not free to rewrite the statute that Congress has
         enacted.”), nor can we overlook Congress’s use of different
         language in separate provisions of the same statute, see Sosa
         v. Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004). Congress
         specifically precluded lower courts from issuing injunctive
         relief except as to “an individual alien,” and that is the
         language we must enforce. See Dodd, 545 U.S. at 359. And
         because Congress “use[d] certain language in one part of the
         statute and different language in another, [we] assume[]
         different meanings were intended.” Sosa, 542 U.S. at 711 n.9
         (citation omitted).


         “alien” is a singular term and thus should generally be construed as
         applying to multiple aliens. The context of § 1252(f)(1), however,
         indicates otherwise: by adding the adjective “individual,” Congress
         placed a specific, standalone numerical limitation on the term “alien.” If
         the Dictionary Act required both “individual” and “alien” to be read as
         applying to multiple persons, “individual” becomes superfluous.
             3
               In § 1252, the phrase “an individual alien” is found only in
         subsection (f)(1), while “an alien” and “any alien” are used fifteen times
         in subsections (a), (b), (e), (f)(2), and (g).
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 42
                                                               42 of
                                                                  of 52
                                                                     52




         42                     PADILLA V. ICE

                                       III.

             The majority opinion also posits that if Congress intended
         to bar classwide injunctive relief, it would have explicitly
         barred class actions like it did in a neighboring statute,
         8 U.S.C. § 1252(e)(1)(B). Maj. Op. 31–32. But barring class
         certification altogether (the function of § 1252(e)(1)(B))
         fundamentally differs from barring a type of relief that a court
         can issue (the function of § 1252(f)(1)). The two statutes
         serve different purposes, and § 1252(f)(1) does not preclude
         class actions wholesale; it narrowly limits the available relief.

             The majority opinion relies, in part, on Califano v.
         Yamasaki, 442 U.S. 682 (1979), to argue that Congress did
         not intend to prohibit classwide injunctive relief in
         § 1252(f)(1). This reliance on Califano, a case analyzing a
         provision in the Social Security Act, 42 U.S.C. § 405(g), is
         misplaced. In Califano, the Court found that a statute
         affirmatively authorizing a suit by “[a]ny individual” did not
         foreclose class actions because Federal Rule of Civil
         Procedure 23 “provides a procedure by which [a] court may
         exercise . . . jurisdiction over the various individual claims in
         a single proceeding.” 442 U.S. at 701. But 42 U.S.C.
         § 405(g) and 8 U.S.C. § 1252(f)(1) differ materially in form
         and in substance. The former explicitly authorizes “[a]ny
         individual” to file a lawsuit and thus is a jurisdictional
         conferring statute. See 42 U.S.C. § 405(g). It does not
         prohibit a court from issuing a specific form of relief, nor
         does it carve out an exception to a general statutory bar. In
         contrast, the latter is a jurisdictional stripping statute that
         categorically bars a type of relief but carves out a narrow
         exception for “an individual alien.”             See 8 U.S.C.
         § 1252(f)(1). It does not fully foreclose a class or multi-party
         lawsuit, see Rodriguez v. Marin, 909 F.3d 252, 259 (9th Cir.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 43
                                                               43 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                        43

         2018), nor does it grant jurisdiction, see AADC, 525 U.S.
         at 481–82. And in contrast to § 405(g)’s use of “individual”
         as a standalone noun, § 1252(f)(1) uses “individual” as an
         adjective to numerically limit “alien.” In short, Califano
         “does not stop the [c]ourt from looking at a particular statute
         that uses the word ‘individual’ and determining that, even if
         the use of ‘individual’ does not always bar class actions, it
         does bar them in the particular statute at issue.” Hamama I,
         912 F.3d at 878.

              Section 1252(f)(1)’s title (“Limit on injunctive relief”)
         and its first clause (“Regardless of the nature of the action or
         claim or of the identity of the party or parties bringing the
         action”) further demonstrate its functional difference from
         8 U.S.C. § 1252(e)(1)(B) and 42 U.S.C. § 405(g). As
         recognized by the Supreme Court, § 1252(f)(1)’s title
         portends what the language of the statute makes plain: the
         statute generally prohibits injunctive relief. See AADC,
         525 U.S. at 481–82. And its opening clause recognizes that
         a lower court has jurisdiction over cases filed by multiple
         “parties,” but states that “[r]egardless” of whether the action
         is brought by one “party” or multiple “parties,” lower courts
         cannot issue injunctive relief except as to “an individual alien
         against whom proceedings under such part have been
         initiated.” 8 U.S.C. § 1252(f)(1). Thus, by its explicit terms,
         § 1252(f)(1) bars both classwide injunctions and injunctive
         relief for aliens who are not in removal proceedings.

                                       IV.

             Perhaps seeking a foothold for its shaky analysis, the
         majority opinion also resorts to the statute’s legislative
         history. Maj. Op. 32–34. But “where, as here, the words of
         the statute are unambiguous, the judicial inquiry is complete.”
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 44
                                                               44 of
                                                                  of 52
                                                                     52




         44                        PADILLA V. ICE

         Desert Palace, Inc. v. Costa, 539 U.S. 90, 98 (2003) (internal
         quotation marks and citation omitted); see Robinson v. Shell
         Oil Co., 519 U.S. 337, 340 (1997) (“Our inquiry must cease
         if the statutory language is unambiguous and the statutory
         scheme is coherent and consistent.” (internal quotation marks
         and citation omitted)). The majority opinion fails to identify
         any ambiguity in § 1252(f)(1), nor have I discovered any such
         language.

             In any event, the scant discussion in the statute’s
         legislative history specifically addressing § 1252(f)(1) does
         not salvage the majority opinion’s interpretation. Without
         explaining the relevance, the majority opinion first notes that
         Congress enacted § 1252(f)(1) after a “period” when
         organizational plaintiffs filed “preemptive challenges” against
         “the enforcement of certain immigration statutes.” Maj. Op.
         32. This statement may be true as far as it goes, but we
         should not bootstrap our interpretation of a statute on a
         hypothesis that Congress silently intended the legislation to
         prevent organization-led preemptive lawsuits of which it may
         have been unaware.4

             The majority opinion also relies on a House Committee
         report to support its reading of § 1252(f)(1) as allowing
         classwide injunctive relief when each class member “is in
         removal proceedings and facing an immediate violation of

              4
                We, of course, can assume that Congress was “aware of relevant
         judicial precedent” when it enacted § 1252(f)(1), see Merck & Co. v.
         Reynolds, 559 U.S. 633, 648 (2010), but for what “relevant judicial
         precedent” would we assume such Congressional awareness? The
         majority opinion does not identify any pre-§ 1252(f)(1) case addressing
         the threshold jurisdictional question at issue here—nor can it: the
         statutory bar on classwide injunctive relief did not exist until the
         enactment of § 1252(f)(1) in 1996.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 45
                                                               45 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                         45

         rights.” Maj. Op. 33–34. The relevant portion of this report
         provides, in full, as follows:

                 Section 306 also limits the authority of
                 Federal courts other than the Supreme Court
                 to enjoin the operation of the new removal
                 procedures established in this legislation.
                 These limitations do not preclude challenges
                 to the new procedures, but the procedures will
                 remain in force while such lawsuits are
                 pending. In addition, courts may issue
                 injunctive relief pertaining to the case of an
                 individual alien, and thus protect against any
                 immediate violation of rights. However,
                 single district courts or courts of appeal do not
                 have authority to enjoin procedures
                 established by Congress to reform the process
                 of removing illegal aliens from the U.S.

         H.R. Rep. No. 104-469(I), at 161 (1996).

             Although this report holds “no binding legal effect,” Nw.
         Envtl. Def. Ctr. v. Bonneville Power Admin., 477 F.3d 668,
         684 (9th Cir. 2007), the majority opinion emphasizes the
         phrase “immediate violation of rights.” In so doing, it
         overlooks the preceding clause: “courts may issue injunctive
         relief pertaining to the case of an individual alien.” H.R.
         Rep. No. 104-469(I), at 161 (emphasis added). Like the
         statute itself, this language specifically describes the scope of
         the carve out using singular phrasing. And the next sentence
         firmly states that lower courts cannot “enjoin procedures
         established by Congress to reform the process of removing
         illegal aliens from the U.S.” Id. Contrary to the majority
         opinion’s view, this report shows that Congress wanted to
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 46
                                                               46 of
                                                                  of 52
                                                                     52




         46                     PADILLA V. ICE

         prevent lower courts from issuing sweeping injunctions—
         such as the classwide, nationwide injunction at issue here—
         against its enacted removal procedures.

             In sum, the legislative history does not support the
         majority opinion’s reading of § 1252(f)(1). It is ambiguous
         at best and cannot override the clear statutory language. See
         Azar v. Allina Health Servs., 139 S. Ct. 1804, 1814 (2019)
         (“[E]ven those of us who believe that clear legislative history
         can illuminate ambiguous text won’t allow ambiguous
         legislative history to muddy clear statutory language.”
         (internal quotation marks and citation omitted)).

                                       V.

              I am not the first to conclude that § 1252(f)(1) bars
         classwide injunctive relief under the circumstances of this
         case. In a constitutional challenge to continued detention
         under the immigration statutes brought by a class of aliens in
         removal proceedings, the Sixth Circuit applied the Supreme
         Court’s reading of § 1252(f)(1) to hold that the statute bars
         classwide injunctive relief. See Hamama I, 912 F.3d at 877
         (“In our view, [AADC] unambiguously strips federal courts
         of jurisdiction to enter class-wide injunctive relief[.]”); see
         also Hamama v. Adducci (“Hamama II”), 946 F.3d 875, 877
         (6th Cir. 2020) (“Congress stripped all courts, save for the
         Supreme Court, of jurisdiction to enjoin or restrain the
         operation of 8 U.S.C. §§ 1221–1232 on a class-wide basis.”
         (citing 8 U.S.C. § 1252(f)(1))). The Tenth Circuit reached the
         same result. See Van Dinh v. Reno, 197 F.3d 427, 433 (10th
         Cir. 1999) (holding that “§ 1252(f) forecloses jurisdiction to
         grant class-wide injunctive relief to restrain operation of
         §§ 1221–[12]3[2] by any court other than the Supreme
         Court”).
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 47
                                                               47 of
                                                                  of 52
                                                                     52




                                PADILLA V. ICE                        47

             We should “decline to create a circuit split unless there is
         a compelling reason to do so.” Kelton Arms Condo. Owners
         Ass’n, Inc. v. Homestead Ins. Co., 346 F.3d 1190, 1192 (9th
         Cir. 2003). The majority opinion fails to identify such a
         “compelling reason.” As a result, even though we trail two
         other circuits in addressing this issue, the majority opinion
         makes us the first and only circuit to conclude that
         § 1252(f)(1) does not bar classwide injunctive relief.

                                       VI.

             Even if the district court had jurisdiction to issue
         classwide injunctive relief, the preliminary injunction is
         overbroad and extends far beyond the demands of due
         process.

             The district court certified the Bond Hearing Class as:

                 All detained asylum seekers who entered the
                 United States without inspection, were
                 initially subject to expedited removal
                 proceedings under 8 U.S.C. § 1225(b), were
                 determined to have a credible fear of
                 persecution, but are not provided a bond
                 hearing with a verbatim transcript or
                 recording of the hearing within seven days of
                 requesting a bond hearing.

         Padilla v. U.S. Immigration & Customs Enf’t, No. C18-928
         MJP, 2019 WL 1056466, at *1 (W.D. Wash. Mar. 6, 2019).
         The district court then issued the two-part preliminary
         injunction that is the subject of this appeal. In Part A of the
         injunction, the district court ordered the government to
         provide bond hearings with various procedures that
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 48
                                                               48 of
                                                                  of 52
                                                                     52




         48                      PADILLA V. ICE

         supposedly are required by the Constitution, including that
         the hearings be conducted within seven days of a request.
         Padilla v. U.S. Immigration & Customs Enf’t, 387 F. Supp.
         3d 1219, 1232 (W.D. Wash. 2019). In Part B, the district
         court “f[ound] that the statutory prohibition at
         [§ 1225(b)(1)(B)(ii)] against releasing on bond persons found
         to have a credible fear and awaiting a determination of their
         asylum application violates the U.S. Constitution.” Id. In
         Part B, the district court also found that “the Bond Hearing
         Class is constitutionally entitled to a bond hearing before a
         neutral decisionmaker (under the conditions enumerated [in
         Part A]) pending resolution of their asylum applications.” Id.

               The majority opinion concludes that “[t]he current record
         is . . . insufficient to support the district court’s findings with
         respect to likelihood of success, the harms facing plaintiffs,
         and the balance of the equities implicated by Part A of the
         preliminary injunction—and particularly with respect to the
         requirement that the class members receive a bond hearing
         within seven days of making such a request or be released.”
         Maj. Op. 28. The majority opinion finds that the record “does
         not contain sufficient specific evidence justifying a seven-day
         timeline, as opposed to a 14-day, 21-day, or some other
         timeline.” Maj. Op. 28. Ultimately, the majority opinion
         affirms Part B “except to the extent that it requires that bond
         hearings be administered under the conditions enumerated in
         Part A” and remands Part A for “further factual development
         and consideration” of the bond hearing procedures. Maj. Op.
         36.

             This holding raises multiple concerns, and Part B’s
         breadth is the most troublesome. Plaintiffs concede that they
         do not assert a facial challenge to § 1225(b)(1)(B)(ii).
         Nonetheless, in Part B the district court deems the statute
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 49
                                                               49 of
                                                                  of 52
                                                                     52




                                     PADILLA V. ICE                               49

         unconstitutional in its entirety, rather than as applied to the
         Bond Hearing Class. See Padilla, 387 F. Supp. 3d at 1232
         (“[F]ind[ing] that the statutory prohibition at
         [§ 1225(b)(1)(B)(ii)] against releasing on bond persons found
         to have a credible fear and awaiting a determination of their
         asylum application violates the U.S. Constitution[.]”).
         Section 1225(b)(1)(B)(ii) requires the government to detain
         multiple categories of aliens, not only those aliens who meet
         the definition of the Bond Hearing Class.5 But the district
         court did not exclude from its sweeping finding of
         unconstitutionality the application of the statute to detain
         other aliens who are not members of the Bond Hearing Class,
         such as “arriving” aliens under § 1225(b)(1)(A)(ii). By
         rendering § 1225(b)(1)(B)(ii) wholly unconstitutional, Part B
         is overbroad.6


              5
                Section 1225(b)(1)(B)(ii) mandates detention of any alien referred
         to in § 1225(b)(1)(A)(ii) who an asylum officer determines has a credible
         fear of persecution. See 8 U.S.C. § 1225(b)(1)(B)(i)–(ii). Section
         1225(b)(1)(A)(ii) refers to two types of aliens: (1) those “arriving in the
         United States”; and (2) those “described” in § 1225(b)(1)(A)(iii),
         including an alien “who has not been admitted or paroled into the United
         States, and who has not affirmatively shown . . . that the alien has been
         physically present in the United States continuously for the 2-year period
         immediately prior to the date of the determination of inadmissibility.”
         8 U.S.C. § 1225(b)(1)(A)(ii)–(iii). Members of the Bond Hearing Class
         are in the latter group, and do not include arriving aliens.
             6
                The law has long recognized a distinction between the process due
         to aliens arriving at our borders and to those who have already entered the
         country. See, e.g., Zadvydas v. Davis, 533 U.S. 678, 693 (2001) (“It is
         well established that certain constitutional protections available to persons
         inside the United States are unavailable to aliens outside of our geographic
         borders.”). And unlike members of the Bond Hearing Class, arriving
         aliens have not entered the country. See, e.g., Alvarez-Garcia v. Ashcroft,
         378 F.3d 1094, 1097 (9th Cir. 2004) (“[A]lthough aliens seeking
         admission into the United States may physically be allowed within its
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 50
                                                               50 of
                                                                  of 52
                                                                     52




         50                          PADILLA V. ICE

             Furthermore, the majority opinion suggests that although
         the record does not support a seven-day deadline for bond
         hearings, it may support a 14-day, 21-day, or other
         unspecified but presumably similarly limited deadline. See
         Maj. Op. 28. But decisions made in similar contexts by the
         Supreme Court and this court establish that due process is not
         so demanding. Rather, these cases hold that, as a
         constitutional matter, the government need only provide bond
         hearings to detained aliens once the detention becomes
         “prolonged” or fails to serve its immigration purpose, a
         period generally understood to be six months. See Clark v.
         Martinez, 543 U.S. 371, 386 (2005) (applying a “6-month
         presumptive detention period”); Demore v. Kim, 538 U.S.
         510, 527–31 (2003) (upholding as constitutional the detention
         of aliens for the entire duration of removal proceedings under
         8 U.S.C. § 1226(c)); Zadvydas, 533 U.S. at 699, 701–02
         (holding that six months is a “presumptively reasonable
         period of detention” under 8 U.S.C. § 1231(a)(6)); Marin,
         909 F.3d at 256–57 (expressing doubt “that any statute that
         allows for arbitrary prolonged detention without any process
         is constitutional”); Diouf v. Napolitano, 634 F.3d 1081, 1092
         n.13 (9th Cir. 2011) (defining detention under 8 U.S.C.
         § 1231(a)(6) as “prolonged when it has lasted six months and
         is expected to continue more than minimally beyond six
         months”).7


         borders pending a determination of admissibility, such aliens are legally
         considered to be detained at the border and hence as never having effected
         entry into this country.”). The detention of arriving aliens under
         § 1225(b)(1)(B)(ii) was not an issue before the district court (or this court)
         in this as-applied challenge.
              7
               The impact of a longer detention period runs deeper than the
         preliminary injunction; it creates an Article III standing dilemma for the
         Bond Hearing Class. Standing requires, among other things, an actual or
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 51
                                                               51 of
                                                                  of 52
                                                                     52




                                    PADILLA V. ICE                              51

             Although “detention during deportation proceedings [i]s
         a constitutionally valid aspect of the deportation process,”
         Demore, 538 U.S. at 523, the majority opinion cites no
         decision from the Supreme Court or this court suggesting that
         two or three weeks constitutes “prolonged” detention. 8

                                           VII.

             The majority opinion does not square with the plain text
         of § 1252(f)(1), is inconsistent with multiple Supreme Court
         cases, and needlessly creates a circuit split. Despite Congress
         unequivocally barring lower courts from issuing classwide
         injunctions against the operation of certain immigration
         statutes, the majority opinion gives a green light for the
         district courts in this circuit (as well as this court) to issue
         (and uphold) such relief. And, even if the district court had
         jurisdiction to issue injunctive relief, the preliminary


         imminent injury in fact, see Lujan v. Defenders of Wildlife, 504 U.S. 555,
         560 (1992), and “at least one named plaintiff” in a class action must
         establish standing, see Bates v. United Parcel Serv., Inc., 511 F.3d 974,
         985 (9th Cir. 2007) (en banc). As the district court found, the longest
         period a named plaintiff for the Bond Hearing Class waited to obtain a
         bond hearing after securing a positive credible fear determination was
         about three weeks, see Padilla, 2019 WL 1056466, at *1–2, a period far
         shorter than the presumptively reasonable six months.
             8
               As to the other procedural requirements imposed by the district court
         in Part A of the preliminary injunction (e.g., placing the burden of proof
         on the government, requiring the government to record the bond hearing
         and produce the recording or a verbatim transcript on appeal, and
         requiring the government to provide a written decision with particularized
         determinations of individualized findings on the same day as the hearing),
         I agree with the majority opinion that the record does not support those
         procedures, and I find it exceedingly unlikely that the Constitution
         mandates them.
Case: 19-35565, 03/27/2020,
Case 2:18-cv-00928-MJP      ID: 11643543,
                         Document         DktEntry:
                                    160 Filed       64-1, Page
                                              03/27/20    Page 52
                                                               52 of
                                                                  of 52
                                                                     52




         52                     PADILLA V. ICE

         injunction is overbroad and exceeds what the Constitution
         demands.

             I would vacate the preliminary injunction and remand for
         further proceedings with instructions to dismiss the claims for
         classwide injunctive relief. I respectfully dissent.
